            Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 1 of 21



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FREEDOM WATCH, INC., individually and on behalf of
those similarly situated
2020 Pennsylvania Ave NW #345
Washington, DC, 20006


                  Plaintiffs,
v.
                                                                            CLASS ACTION
GOOGLE, INC.                                                                COMPLAINT
160 Amiptheatre Parkway
Mountain View, CA, 94043

And

FACEBOOK, INC.,
1 Hacker Way
Menlo Park, CA, 94025

And

TWITTER, INC.,
1355 Market Street #900
San Francisco, CA, 94103

And

APPLE, INC.
1 Infinite Loop
Cupertino, CA, 95014


                   Defendants.

I.     INTRODUCTION AND CLASS ACTION ALLEGATIONS

        Plaintiff Freedom Watch, Inc. (“Freedom Watch”), individually and on behalf of all

others similarly situated, bring this suit as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure. The class is defined as all politically conservative organizations, entities




                                                 1
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 2 of 21



and/or individuals who create and/or distribute media content and advocacy who have

experienced illegal suppression and/or censorship of their media content by Defendants. This

class meets all the criteria required by Federal Civil Rule 23(a).

        The members of the class are so numerous that joinder of all its members is impossible.

There are likely to be hundreds or more class members in the United States and worldwide.

Furthermore, common questions of fact and law exist as to all class members, including, but not

limited to, whether Defendants are engaging in illegal suppression and censorship of politically

conservative content. Freedom Watch’s claims are typical of all of the claims of the respective

class that it seeks to represent and Freedom Watch has no interests adverse to the interest of the

other members of the class, insofar as its injuries are substantially similar to those suffered by the

other members of the class. Lastly, prosecution of separate actions of the hundreds, if not more,

of potential members of this class would almost certainly result in inconsistent or varying

adjudication, which would result in different standards of conduct being imposed upon

Defendants by different courts.

II.     JURISDICTION AND VENUE

        1.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1332 (Diversity of Citizenship Jurisdiction) and 28 U.S.C. § 1331 (Federal Question

Jurisdiction). This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d), as

the amount in controversy exceeds the value of $1,000,000,000, this is a class action, and one or

more Plaintiffs is a citizen of a state different from the state of citizenship of one or more of the

Defendants.

        2.      This Court has supplemental jurisdiction over this case pursuant to 28 U.S.C. §

1367.




                                                  2
                Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 3 of 21



         3.      Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) in

that a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this

district.

         4.      Freedom Watch is incorporated in and does substantial business in the District of

Columbia.

III.     PARTIES

                                             Plaintiffs

         5.      Freedom Watch is a 501(c)(3) non-profit corporation that is incorporated in the

District of Columbia.

                                            Defendants

         6.      Defendant Google, Inc. (“Google”) is a corporation incorporated in the state of

Delaware. Google does business in all 50 states, including the District of Columbia. Google

owns the video streaming service, YouTube, and is therefore liable for the violative conduct of

YouTube alleged herein.

         7.      Defendant Facebook, Inc. (“Facebook”) is a corporation incorporated in the state

of Delaware. Facebook does business in all 50 states, including the District of Columbia.

Facebook owns the photo and video-sharing social networking service, Instagram, and is

therefore liable for the violative conduct of Instagram alleged herein.

         8.      Defendant Twitter, Inc. (“Twitter”) is a corporation incorporated in the state of

Delaware. Twitter does business in all 50 states, including the District of Columbia.

         9.      Defendant Apple, Inc. (“Apple”) is a corporation incorporated in the state of

Delaware. Apple does business in all 50 states, including the District of Columbia.

         ///




                                                 3
                Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 4 of 21



IV.     STANDING

        10.      Freedom Watch, individually and those similarly situated, have standing to bring

this action because they have been directly affected and victimized by the unlawful conduct

complained herein. Their injuries are proximately related to the conduct of Defendants, acting in

concert in restraint of trade and other unlawful acts, each and every one of them.

V.      FACTS

                Defendants’ Suppression and Censorship of Conservative Content

        11.      It has been revealed that Defendants, each and every one them, have engaged in a

conspiracy to intentionally and willfully suppress politically conservative content.

        12.      This conspiracy has resulted in severe financial loss, as well as unconstitutional

suppression of speech and other content, for Freedom Watch and those similarly situated.

        13.      Acting in concert with traditional media outlets, including but not limited to Cable

News Network (“CNN”), MSNBC, the New York Times and the Washington Post – all of whom

are owned and/or managed by persons with a leftist political ideology, Defendants have

intentionally and willfully suppressed politically conservative content in order to take down

President Donald Trump and his administration with the intent and purpose to have installed

leftist government in the nation’s capital and the 50 states.

        14.      Defendants’ goal is to use their position of influence and great market power – as

set forth below – to re-craft the nation into their leftist design.

        15.      Indeed, many executives of Defendants and at CNN, MSNBC, the New York

Times and the Washington Post, which outlets are not being suppressed, are intricately

connected with former President Barack Obama, former Secretary of State and presidential




                                                    4
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 5 of 21



candidate Hillary Clinton, and former President Bill Clinton and still serve their interests, as well

as those of other leftist politicians, through the media.

       16.      It has been widely reported and documented that Defendants have each, as part of

the conspiracy described herein, actively, willfully, and intentionally and/or or through parallel

concerted violative conduct suppressed conservative content in furtherance of their political

agendas and those of their co-conspirators.

       17.      According to Senator Ted Cruz, as reported in the New York Times, “if internet

companies are not a ‘neutral platform,’ they should not be protected by a law known as Section

230 of the Communications Decency Act, which (some claim) gives companies broad legal

immunity for what people put on their services.”1

       18.      In the same article, Rep. Kevin McCarthy stated, “Social media platforms are

increasingly serving as today’s town squares….But sadly, conservatives are too often finding

their voices silenced.”2

       19.      In an article from the National Review, it was revealed that each and every one of

the Defendants have actively suppressed conservative content.3 (the “National Review Article”).

       20.      YouTube is one of the top three most visited websites globally (along with co-

Defendant Facebook and its parent company, Google) and, as of 2017, it was used by over one

billion users each month—almost one out of every two people on the Internet.




1
  Adam Santariano, Trump Accuses Google of Burying Conservative News in Search Results,
N.Y. Times, Aug. 28, 2018, available at:
https://www.nytimes.com/2018/08/28/business/media/google-trump-news-results.html
2
  Id.
3
  Ben Shapiro, Viewpoint Discrimination with Algorithms, National Review, Mar. 7, 2018,
available at: https://www.nationalreview.com/2018/03/social-media-companies-discriminate-
against-conservatives/

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               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 6 of 21



       21.      YouTube holds itself out to be a public forum for video-based speech in this

district and all around the world, allowing users to upload videos viewable by anyone in the

world, in order to share ideas, viewpoints, and ideologies.

       22.      Eighty-five percent of Americans watch videos online and more than 500 million

hours of videos are watched on YouTube each day.

       23.      More video content has been uploaded to Google/YouTube by public users than

has been created by the major U.S. television networks in 30 years

       24.      It was revealed that “YouTube has demonetized videos from conservatives while

leaving similar videos up for members of the Left. For example, Prager University has watched

innocuous videos titled ‘Why America Must Lead,’ ‘The Ten Commandments: Do Not Murder,’

and ‘Why Did America Fight the Korean War’ demonetized (i.e. barred from accepting

advertisements) at YouTube’s hands.”4

       25.       YouTube has also demonetized the account of the conservative Western Journal,

“accusing the account owners of ‘duplicating content,’ although the Google subsidiary declined

to specify what material in particular violated the video platform’s terms of service.”5

       26.      As evidence of the political motivation behind YouTube’s action, Shaun Hair of

the Western Journal stated, “[w]e had zero copyright strikes and zero community guideline

strikes. Not even a recent warning. Youtube has on three occasions declined to explain or even

give a single example of why duplication is other than generic language about copyright rules.”6




4
  Id.
5
  Allum Bokhari, YouTube Cuts Off Conservative News Org’s Ad Revenue Without Explanation,
Breitbart, Aug. 24, 2018, available at: https://www.breitbart.com/tech/2018/08/24/youtube-cuts-
off-conservative-news-orgs-ad-revenue-without-explanation/
6
  Id.

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               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 7 of 21



       27.      YouTube has also targeted conservative pundit, Alex Jones of InfoWars, deleting

his channel, which had “more than 2 million subscribers and many years’ worth of video

content.”7

       28.      YouTube’s parent company, Google, has even been accused by President Trump

himself of bias against conservatives, and that search results on Google only reported “fake

news” against him.8

       29.      In a study conducted by Paula Bolyard of PJ Media, it was revealed that an

incredible 96% of Google search results for “Trump” news came from liberal media outlets,

using the widely accepted Sharyl Attkisson media bias chart.9

       30.      In the same study, it was revealed that not a single conservative leaning site

appeared on the first page of search results.10

       31.      The same article also examined another study conducted by “Can I Rank,” which

found that:

       … top search results were almost 40% more likely to contain pages with a 'Left'
       or 'Far Left' slant than they were pages from the right," Can I Rank found.
       "Moreover, 16% of political keywords contained no right-leaning pages at all
       within the first page of results.

       32.      As reported by the New York Times, “Larry Kudlow, the director of the National

Economic Council and a longtime advocate of deregulation, appeared to back Mr. Trump when




7
  Id.
8
  Susan Heavey, White House investigating Google after Trump accuses it of bias, Reuters, Aug,
28, 2018, available at: https://www.reuters.com/article/us-usa-trump-tech/white-house-
investigating-google-after-trump-accuses-it-of-bias-idUSKCN1LD1I1
9
  Paula Bolyard, 96 Percent of Google Search Results for 'Trump' News Are from Liberal Media
Outlets, PJ Media, Aug. 25, 2018, available at: https://pjmedia.com/trending/google-search-
results-show-pervasive-anti-trump-anti-conservative-bias/
10
   Id.

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                Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 8 of 21



asked by reporters later on Tuesday whether the administration would be pursuing more

regulation of Google. ‘We’ll let you know,’ Mr. Kudlow said. “We’re taking a look at it.’”11

        33.      The National Review Article also examined Facebook’s political censorship:

        Facebook was slammed two years ago for ignoring conservative stories and
        outlets in its trending news; now Facebook has shifted its algorithm to downgrade
        supposedly “partisan” news, which has the effect of undercutting newer sites that
        are perceived as more partisan, while leaving brand names with greater public
        knowledge relatively unscathed. Facebook’s tactics haven’t just hit conservative
        Web brands — they’ve destroyed the profit margins for smaller start-ups like
        LittleThings, a four-year-old site that fired 100 employees this week after the
        algorithm shift reportedly destroyed 75 percent of the site’s organic reach (the
        number of people who see a site’s content without paid distribution)

        34.      Furthermore, as documented in an article published on www.gizmodo.com in

2016 titled “Former Facebook Workers: We Routinely Suppressed Conservative News,” 12

“Facebook workers routinely suppressed news stories of interest to conservative readers from

[its] influential “trending” news section….” (the “Gizmodo Article”).

        35.      The Gizmodo Article was published after interviews with former Facebook “news

curators,” who were “instructed to artificially ‘inject’ selected stories into the trending news

module, even if they weren’t popular enough to warrant inclusion—or in some cases weren’t

trending at all.”

        36.      The Gizmodo Article further explains that Facebook’s “news curators” routinely

suppressed topics that were of interest to conservative and thus Republican-oriented readers. One

curator that was interviewed was “so troubled by the omissions that they kept a running log of

them at the time…. Among the deep-sixed or suppressed topics on the list: former IRS official

Lois Lerner, who was accused by Republicans of inappropriately scrutinizing conservative

11
  Santariano, supra note 1.
12
  Michael Nunez, Former Facebook Workers: We Routinely Suppressed Conservative News,
Gizmodo, May 9, 2016, available at: https://gizmodo.com/former-facebook-workers-we-
routinely-suppressed-conser-1775461006.

                                                8
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 9 of 21



groups; Wisconsin Gov. Scott Walker; popular conservative news aggregator the Drudge Report;

Chris Kyle, the former Navy SEAL who was murdered in 2013; and former Fox News

contributor Steven Crowder.”

       37.      This “news curator” stated, “I believe it had a chilling effect on conservative [and

thus Republican] news.”

       38.      The Gizmodo article revealed that “[s]tories covered by conservative outlets (like

Breitbart, Washington Examiner, and Newsmax) that were trending enough to be picked up by

Facebook’s algorithm were excluded unless mainstream sites like the New York Times, the BBC,

and CNN covered the same stories.”

       39.      Another “news curator” stated, “It was absolutely bias. We were doing it

subjectively. It just depends on who the curator is and what time of day it is…. Every once in

awhile a Red State or conservative news source would have a story. But we would have to go

and find the same story from a more neutral outlet that wasn’t as biased.”

       40.      This clearly demonstrated bias against conservative and Republican oriented news

stories and outlets has been manifest in Facebook’s new algorithm change, which was effected in

2018, and has in effect censored conservative-leaning publishers on Facebook.

       41.      A study conducted by Western Journal found that since the algorithm change,

“Liberal publishers have gained about 2 percent more web traffic from Facebook than they were

getting prior to the algorithm changes implemented in early February. On the other hand,

conservative [and thus Republican] publishers have lost an average of nearly 14 percent of their

traffic from Facebook.”13 (the “Study”).




13
   George Upper, Confirmed: Facebook’s Recent Algorithm Change Is Crushing Conservative
Sites, Boosting Liberals, The Western Journal, Mar. 13, 2018, available at:

                                                 9
                  Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 10 of 21



          42.       According to the Study, after removing the 15 publishers with the least traffic

from Facebook (from the original 50 outlets analyzed), the 12 most conservative sites lost an

average of 27.06 percent of their traffic from Facebook.

          43.       On the other hand, “Of the 12 most liberal sites, six saw double-digit decreases in

traffic, while four saw double-digit increases and two — The Washington Post and HuffPo —

saw single-digit increases. CNN’s traffic increased 43.78 percent.”

          44.       These results are not coincidental. “Campbell Brown, a former anchor on NBC

and CNN who now leads Facebook’s news partnerships team, told attendees at a recent

technology and publishing conference that Facebook would be censoring news publishers based

on its own internal biases.”14

          45.       Ms. Brown incredibly admitted:

          “This is not us stepping back from news. This is us changing our relationship with
          publishers and emphasizing something that Facebook has never done before: It’s
          having a point of view, and it’s leaning into quality news. … We are, for the first
          time in the history of Facebook, taking a step to try to to define what ‘quality
          news’ looks like and give that a boost.” (Emphasis added.)15

          46.       It is clear from the results shown in the Study, as well as the biases and prejudices

detailed in the Gizmodo Article, that the “point of view” referred to by Ms. Brown is one that

censors conservative content while propping up liberal content.

          47.       Thus, Facebook is not the neutral social media platform that it holds itself out to

be, and its end users are precluded from seeing news and stories of interest to them if the happen

to lean conservatively.



https://www.westernjournal.com/confirmed-facebooks-recent-algorithm-change-is-crushing-
conservative-voices-boosting-liberals/.
14
     Upper, supra note 2.
15
     Id.

                                                     10
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 11 of 21



       48.       The National Review Article also revealed that Twitter, “has banned nasty

accounts perceived as right-wing while ignoring similar activity from the left.”

       49.       As the National Review Article reported, “James O’Keefe recently exposed the

practice of ‘shadowbanning,’ in which Twitter hides particular content or mutes particular

hashtags for political purposes. That’s no coincidence: Twitter head Jack Dorsey is an ardent

leftist who has campaigned with radicals like Black Lives Matter founder DeRay Mckesson, and

whose company relies on the input of an Orwellian Trust and Safety Council staffed thoroughly

with left-wing interest groups.

                         Facts Pertaining to Directly to Freedom Watch

       50.       Freedom Watch is a leading conservative non-profit public interest organization

that operates its own website, a YouTube channel as Freedom Watch TV, a Twitter account, and

Podcasts on Apple’s network. The chairman and general counsel of Freedom Watch, Larry

Klayman, is also the founder of Judicial Watch and previously was a trial attorney and

prosecutor in the Antitrust Division of the U.S. Department of Justice (“DOJ”). He was an

integral member of the Antitrust Division’s trial team that broke up the AT&T monopoly during

the Reagan administration.

       51.       Freedom Watch has and still does pay Google and YouTube, Facebook and the

other Defendants for services to promote and advertise its media content in order to inform the

public about its conservative advocacy and to raise the funds through donations to further its

public advocacy and mission.

       52.       Freedom Watch had experienced steady growth in both audience and revenue

generated through these platforms for many years, until the recently reported suppression of

conservative content set forth above, which grew more pronounced and severe approximately six




                                                11
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 12 of 21



months ago, notably after the election of President Donald J. Trump and as the so-called Russian

collusion and obstruction of justice investigation of Special Counsel Robert Mueller was

publically attacked by the president and other conservatives as a continuing leftist inspired

“witch hunt.” Freedom Watch also has a “Leftist Media Strike Force” which was created to

combat discrimination against conservative media content and advocacy, and has several

pending lawsuits which seek to further justice and the rule of law, which it maintains is being

compromised by the Defendants herein, as well as other left-leaning interests. See

www.freedomwatchusa.org, which is incorporated herein by reference.

       53.       Since Defendants, each and every one of them, have begun their conspiracy to

intentionally and willfully, and/or acting in concerted parallel fashion, to suppress conservative

content and refuse to deal with Freedom Watch, Freedom Watch’s growth on these platforms has

come to a complete halt, and its audience base and revenue generated has either plateaued or

diminished.

       54.       For instance, the number of subscribers to Freedom Watch’s YouTube channel

has remained static especially over the last six months, after years of steady grown, which simply

cannot be a coincidence given the facts set forth in the previous section.

       55.       Defendants’ conspiracy to suppress conservative content has directly and

proximately caused Freedom Watch significant financial injury, as well as injury in the form of

suppression of speech and ideas in furtherance of its conservative public interest advocacy.

       56.       Not only is Freedom Watch a user and consumer of Defendants’ platforms, it is

also a competitor, insofar as it creates its own original media content in the form of videos,

articles, and podcasts and other audio media, such as radio, which are distributed via the internet

in this district, and both nationwide and worldwide.




                                                12
                  Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 13 of 21



                         Defendants’ Market Power and Antitrust Allegations

          57.       Defendants have entered into an illegal agreement to refuse to deal with

conservative news and media outlets, such as Freedom Watch and those similarly situated, as

well as to suppress media content and advocacy, which has no legitimate business justification

and is plainly anticompetitive.

          58.       Defendants’ agreement has a plainly anti-competitive effect and has no rational

economic justification, as they are willing to lose revenue from conservative organizations and

individuals like Freedom Watch and those similarly situated to further their leftist agenda and

designs to effectively overthrow President Trump and his administration and have installed leftist

government in this district and the 50 states.

          59.       Alternatively, Defendants, who are and should be competitors to each other, have

engaged in “conscious parallelism” insofar as they have each mimicked each others’ refusal to

deal with Freedom Watch and those similarly situated in order to set, control, and establish the

relevant market, as defined below.

          60.       There is no legitimate independent business reason for Defendants “conscious

parallelism,” as they are losing revenue from conservative organizations and individuals like

Freedom Watch and those similarly situated.

          61.       Facebook is the leading and the largest social media network in the world, with a

social network global market share of 69.97 percent as of March, 2018.16

          62.       Facebook has the largest market share in the United States for social networking

advertising revenue, at 79.2% in 2018 thus far.17 Facebook has held at least a 73.9% market

share in advertising revenue since at 2015.



16
     http://gs.statcounter.com/social-media-stats

                                                    13
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 14 of 21



       63.       In 2017, Facebook held a market share of 20.9% of the net United States digital

ad revenues, as well as 26.8% of the net United States mobile ad market.18

       64.       In conjunction with Google, Facebook makes up 63.1% of total United States

digital advertising revenues.

       65.       Facebook’s CEO, Mr. Zuckerberg, testified before a joint session between the

Senate Judiciary and Commerce committees on April 10, 2018.

       66.       During his testimony, Zuckerberg struggled to name a single competitor to

Facebook.19

       67.       The Verge published a transcript of the line of questioning on this topic:

       Sen. Lindsey Graham: Who’s your biggest competitor?
       Mark Zuckerberg: Uh, senator, we have a lot of competitors.
       LG: Who’s your biggest?
       MZ: The categories… do you want just one? I am not sure I can give one but can
       I give a bunch? There are three categories that I would focus on. One are the other
       tech platforms: Google, Apple, Amazon, Microsoft, we overlap with them in
       different ways.
       LG: Do they provide the same service you provide?
       MZ: In different ways.
       LG: Let me put it this way. If I buy a Ford, and it doesn’t work well, and I don’t
       like it, I can buy a Chevy. If I’m upset with Facebook, what’s the equivalent
       product I can go sign up for?
       MZ: Well, the second category I was going to talk about…
       LG: I’m not talking about categories. I’m talking about real competition you face.
       ‘Cause car companies face a lot of competition. They make a defective car, it gets
       out in the world, people stop buying that car, they buy another one. Is there an
       alternative to Facebook in the private sector?
       MZ: The average American uses eight different apps to communicate with their
       friends and stay in touch with people ranging from text to email—

17
   https://www.statista.com/statistics/241805/market-share-of-facebooks-us-social-network-ad-
revenue/
18
   https://www.emarketer.com/Article/Google-Facebook-Tighten-Grip-on-US-Digital-Ad-
Market/1016494
19
   Sarah Jeong, Zuckerberg struggles to name a single Facebook competitor, The Verge, Apr. 10,
2018, available at: https://www.theverge.com/2018/4/10/17220934/facebook-monopoly-
competitor-mark-zuckerberg-senate-hearing-lindsey-graham



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               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 15 of 21



       LG: Which is the same service you provide?
       MZ: Well, we provide a number of different services.
       LG: Is Twitter the same as what you do?
       MZ: It overlaps with a portion of what we do.
       LG: You don’t think you have a monopoly?
       MZ: It certainly doesn’t feel like that to me.20

       68.       Sarah Miller (“Miller”), the Deputy Director of the Open Markets Institute, has

plainly stated that Facebook is a “corporate monopoly.”21

       69.       Miller reasons, “[t]here is no other social media company today that has the

enormous global reach combined with the personal intimacy and immediate engagement of

Facebook. There are more than 200 million users in the United States, with more than half of all

American adults accessing it every day, and almost 2 billion worldwide. It accounts for 77

percent of mobile social networking traffic in the U.S. Through its ownership of WhatsApp and

Instagram, that reach is even greater.”22

       70.       “Facebook is also the leading way that most Americans get their news. According

to the Pew Research Center, just shy of half of all Americans get their news on Facebook – far

more reach than any other social media site.”23

       71.       In another study, it was revealed back in 2016 that 59% of Twitter users get their

news through the Twitter platform.24 The same study found that 48% of all American adults got




20
   Id.
21
   Sarah Miller, Matt Stoller, Facebook Can’t Be Fixed, It Needs To Be Broken Up, The Daily
Beast, Apr. 10, 2018, available at: https://www.thedailybeast.com/facebook-cant-be-fixed-it-
needs-to-be-broken-up
22
   Id.
23
   Id.
24
   Jeffrey Gottfried, Elisa Shearer, News Use Across Social Media Platforms 2016, Journalism,
May 26, 2016, available at: http://www.journalism.org/2016/05/26/news-use-across-social-
media-platforms-2016/



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                Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 16 of 21



their news from Facebook, 10 % from YouTube, and 16% from Twitter, meaning a total of 74%

of American adults get their news from Defendants’ platforms.

        72.       The relevant market is the market for media and news publications (and the

submarket for political media and news publications).

        73.       The geographic markets are in this district and nationwide and worldwide.

        74.       Defendants collectively have obtained monopoly power in the relevant markets

through exclusionary conduct that has severely harmed competition.

        75.       As set forth in the both the foregoing and the following sections, Defendants have

engaged in a refusal to deal with Freedom Watch and those similarly situated that has no viable

economic justification and is plainly anticompetitive.

        76.       Similarly, the violative conduct of Defendants has resulted in a worse quality of

services for its consumers who tend to lean conservatively and, as set forth in this Complaint,

lack any normal business justification.

                                 FIRST CAUSE OF ACTION
     Violation of Section 1 of the Sherman Act – Illegal Agreement in Restraint of Trade

        77.       Freedom Watch realleges and incorporate herein by reference each and every

foregoing paragraph of this Complaint as if set forth in full.

        78.       Section 1 of the Sherman Antitrust Act states that “Every contract, combination in

the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several

States, or with foreign nations, is declared to be illegal.”

        79.       Defendants, each and every one of them, have conspired and illicitly agreed to

refuse to deal and suppress media content and advocacy from Freedom Watch and those

similarly situated members of the class.




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               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 17 of 21



       80.       Alternatively, Defendants, each and every one of them, have engaged in

“conscious parallelism” and in concert mimicked each others’ refusal to deal with Freedom

Watch and those similarly situated in order to set, control, and establish the relevant market, as

defined above.

       81.       Defendants’ agreement unreasonably restrains competition insofar as it has no

legitimate business justification. Defendants are losing significant revenue from conservative

groups and individuals like Freedom Watch and those similarly situated members of the class.

       82.       Defendants are accepting this temporary loss of revenue in order to set, control,

and dominate the relevant market, as defined above.

       83.       Defendants’ illegal agreement affects interstate commerce because Freedom

Watch and those similarly situated have a nationwide and worldwide reach for their conservative

media content and advocacy.

       84.       There is a significant negative impact on the relevant market because consumers’

access to conservative media and news content is severely limited and suppressed as a result of

Defendants’ agreement and/or “conscious parallelism.”

       WHEREFORE, Freedom Watch respectfully requests that this Court enter judgment

against Defendants in a sum to be determined by a jury, grant preliminary and permanent

injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and further

relief as this Court deems just and proper.

                                SECOND CAUSE OF ACTION
                            Violation of Section 2 of the Sherman Act

       85.       Freedom Watch realleges and incorporate herein by reference each and every

foregoing paragraph of this Complaint as if set forth in full.




                                                 17
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 18 of 21



       86.       Defendants    have    targeted   media and news publications such as lead plaintiff

Freedom Watch and those members of the class that have the potential to compete with it and

thereby to erode its monopoly.

       87.       Defendants have willfully engaged, and is engaging, in an exclusionary course of

conduct, and there is a dangerous probability that, unless restrained, it will succeed, in violation

of Section 2 of the Sherman Act, 15 U.S.C. § 2.

       88.       Defendants have acted with a specific intent to monopolize, and to destroy

effective competition in the relevant market for media and news publications.

       WHEREFORE, Freedom Watch respectfully request that this Court enter judgment

against Defendants in a sum to be determined by a jury, grant preliminary and permanent

injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and further

relief as this Court deems just and proper.

                                  THIRD CAUSE OF ACTION
                 Discrimination in Violation of D.C. Code § 2-1403.16 (“DCHRA”)

       89.       Freedom Watch incorporate herein by reference each and every foregoing

paragraph of this Complaint as if set forth in full.

       90.       The DCHRA makes discrimination illegal based on 20 different traits for people

that live, visit, or work in the District of Columbia.

       91.       One of the traits that is protected under the DCHRA is “Political Affiliation.”

       92.       Defendants, each and every one of them, acting in concert, are discriminating

against Freedom Watch because of its perceived conservative advocacy which is perceived by

them to further the interests of what is perceived to be an affiliated Republican Party.




                                                  18
               Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 19 of 21



       93.       Defendants have denied Freedom Watch the full and equal enjoyment of the

services, privileges, and advantages that they provide to persons which they perceive to not be

affiliated with the Republican Party.

       94.       Defendants have indicated that full and equal enjoyment of the goods, services,

facilities, privileges, advantages, and accommodations will be unlawfully refused, withheld from

or denied to Freedom Watch and that its patronage of Defendants’ platforms is objectional,

unwelcome, unacceptable, or undesirable.

       95.       Defendants qualify as “public accommodation[s],” as defined by the DCHRA, as

an “establishment…dealing with services of any kind….”

       WHEREFORE, Freedom Watch respectfully request that this Court enter judgment

against Defendants in a sum to be determined by a jury, grant preliminary and permanent

injunctive relief, for costs herein incurred, for attorneys’ fees, and for such other and further

relief as this Court deems just and proper.

                                FOURTH CAUSE OF ACTION
         Violation of the First Amendment to the Constitution and/or 42 U.S.C. § 1983

       96.       Freedom Watch realleges and incorporate herein by reference each and every

foregoing paragraph of this Complaint as if set forth in full.

       97.       The First Amendment of the United States Constitution protects the freedom of

speech and association, and against viewpoint discrimination in the access and use of public

spaces, quasi-public spaces, and limited public spaces.

       98.       Defendants created, operate, and control public platforms that are for public use

and public benefit and invite the public to utilize their platforms as a forum for free speech.




                                                 19
                 Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 20 of 21



         99.       Defendants act as quasi-state actors because they regulate their public platforms,

thereby regulating free speech within their public forums, Google/YouTube, Facebook, and

Twitter, Apple, Instagram as well as the other social media companies or entities.

         100.   Defendants, each and every one of them acting in concert, have deprived Freedom

Watch and those similarly situated of its constitutional rights by censoring its content for purely

political reasons. Defendants’ censorship is arbitrary and capricious, and is purely viewpoint

based.

         101.   There exists no compelling, significant, or legitimate reason for the censoring of

Freedom Watch’s content as well as the other members of the class.

VI.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff on behalf of itself and the other members of the class pray for

relief and judgment against Defendant as follows:

         (a)   For general (non-economic), special (economic), actual and compensatory and

             punitive damages in excess of $ 1,000,000,000.00;

         (b)  For injunctive relief preventing Defendants, each and every one of them, acting in

             concert and individually as joint tortfeasors from discriminating against, refusing to

             deal, suppressing media content and advocacy, censoring Freedom Watch and those

             similarly situated members of the class.

                                    DEMAND FOR JURY TRIAL

         Plaintiffs demand a trial by jury on all counts as to all issues so triable.



Dated: August 29, 2018                             Respectfully submitted,

                                                    /s/ Larry Klayman
                                                    Larry Klayman, Esq.



                                                   20
Case 1:18-cv-02030 Document 1 Filed 08/29/18 Page 21 of 21



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                            21
